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11
12   Attorney for the United States
13
14                           UNITED STATES DISTRICT COURT
15                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
17   AARON DOMINGUEZ,                                 )
18   A Resident of the State of California            )
19                                                    )
20                              Plaintiff,            ) Case No. 5:17-cv-00622-JGB-SP
21                                                    )
22                      v.                            ) STATEMENT OF INTEREST OF
23                                                    ) THE UNITED STATES AND
24   Commercial Castings Co. et al.,                  ) NOTICE OF NO OBJECTION
25   a corporation                                    )
26                             Defendant.             )
27                                                    )
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 1         The United States provides notice that it has reviewed the proposed
 2   settlement agreement in this action and does not object to its terms. On August 8,
 3   2018, the Citizen Suit Coordinator for the Department of Justice received a copy of
 4   the proposed consent judgment in the above-referenced case for review pursuant to
 5   Clean Water Act, 33 U.S.C. § 1365(c)(3). See Exhibit 1. This provision provides,
 6   in relevant part:
 7         No consent judgment shall be entered in an action in which the
 8         United States is not a party prior to 45 days following the receipt
 9         of a copy of the proposed consent judgment by the Attorney
10         General and the Administrator.
11   See also 40 C.F.R. § 135.5 (service on Citizen Suit Coordinator in the U.S.
12   Department of Justice). A consent judgment that does not undergo this federal
13   review process is at risk of being void.1
14         In its review, the United States seeks to ensure that a proposed consent
15   judgment complies with the requirements of the relevant statute and is consistent
16   with its purposes. See Local 93, Int’l Ass’n of Firefighters v. City of Cleveland,
17   478 U.S. 501, 525-26 (1986) (a consent decree should conform with and further
18   the objectives of the law upon which the complaint was based). For example, if
19   the defendant has been out of compliance with statutory or permit requirements,
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21   1
       For purposes of the United States’ right of review, the term “consent judgment”
22   in the Clean Water Act citizen suit provision has a broad meaning, and
23   encompasses all instruments entered with the consent of the parties that have the
     effect of resolving any portion of the case. For example, the United States views a
24   document stipulating to dismissal of a case or any part thereof would be within the
25   scope of this language. Such documents and any associated instruments (even if
     not submitted to the Court) must be submitted to the United States for review,
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     notwithstanding any provisions purporting to maintain the confidentiality of such
27   materials. The Department monitors citizen suit litigation to review compliance
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     with this requirement.

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 1   the proposed consent judgment should require the defendant to come into prompt
 2   compliance and should include a civil penalty, enforceable remedies, injunctive
 3   relief, a supplemental environmental project payment sufficient to deter future
 4   violations, or combinations of the above.
 5         In this case, Aaron Dominguez (“Plaintiff”) (“Dominguez”) alleges
 6   Commercial Castings Co. and Commercial Machine & Engineering Corporation,
 7   (“Defendant”) (“Castings”), is in violation of the Federal Water Pollution Control
 8   Act, 33 U.S.C. §§ 1251, et seq. (“Clean Water Act” or “CWA”) for discharge of
 9   pollutants from the Defendant’s facility, an iron foundry.
10         The proposed consent decree essentially requires Defendant to comply with
11   the terms of California’s Industrial General Permit – terms that Defendants is
12   subject to even absent this settlement agreement. Some submissions required by
13   California’s Industrial General Permit, however, must also be submitted to
14   Plaintiff, and Defendant has agreed to pay $1,000 to The Trust for Public Land
15   “[t]o remediate the alleged environmental harms resulting from alleged non-
16   compliance with the [Industrial General Permit] that is alleged in the Complaint.”
17   Settlement Agreement ¶ 3. Each party bears its own past and future attorneys’ fees
18   and costs. Settlement Agreement ¶ 16.
19         Given these representations, the United States has no objection to the entry
20   of the proposed consent decree. We accordingly notify the Court of that fact. We
21   do note that Brodsky & Smith LLC, the law firm representing Plaintiff, has filed
22   158 notice of violation letters against various alleged violators in the Central
23   District of California since June of 2016 alone, and has received almost $700,000
24   in settlement of a portion of those claims. The United States has not identified any
25   firm, solo practitioner, or organization having filed a similar volume of citizen suit
26   actions in a similar timeframe over the 41-year history of CWA citizen suit
27   litigation. Based on concerns with practice, the United States had previously
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 1   requested that reviewing courts in three cases2 require Plaintiff to file a Motion to
 2   Enter, and the reviewing courts have ordered such a motion.
 3           The United States believes the environmental relief accorded in this case is
 4   minimal. We do not request the Court to order the parties to file a Motion to Enter,
 5   however, because each party bears its own attorneys’ fees and costs.
 6           The United States affirms for the record that it is not bound by this
 7   settlement. See, e.g., Hathorn v. Lovorn, 457 U.S. 255, 268 n.23 (1982) (Attorney
 8   General is not bound by cases to which he was not a party); Gwaltney of
 9   Smithfield, Ltd. v. Chesapeake Bay Found. Inc., 484 U.S. 49, 60 (1987) (explaining
10   that citizen suits are intended to “supplement rather than supplant governmental
11   action”); Sierra Club v. Electronic Controls Design, 909 F.2d 1350, 1356 n.8 (9th
12   Cir. 1990) (explaining that the United States is not bound by citizen suit
13   settlements, and may “bring its own enforcement action at any time”); 131 Cong.
14   Rec. S15,633 (June 13, 1985) (statement of Senator Chafee, on Clean Water Act
15   section 505(c)(3), confirming that the United States is not bound by settlements
16   when it is not a party). The United States also notes that, if the parties
17   subsequently propose to modify any final consent judgment entered in this case,
18   the parties should so notify the United States, and provide a copy of the proposed
19   modifications, forty-five days before the Court enters any such modifications. See
20   33 U.S.C. §1365(c)(3).
21           We appreciate the attention of the Court. Please contact the undersigned at
22   (202) 514-2686 if you have any questions.
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      Those three cases are: (1) Alfonso Lares v. Reliable Wholesale Lumber, Inc., Case No. 8:18-cv-00157-JLS-AGR;
     (2) Gary Lunsford v. Arrowhead Brass Plumbing and Arrowhead Brass & Plumbing, LLC, Case No. 2:16-cv-
28   08373-PA-KS; and (3) Luke Delgadillo Garcia v. Miller Castings, Inc., Case No. 2:17-cv-07408-AB-AGR.

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 1                                 Sincerely,
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 3
 4                                 /s/ Matthew R. Oakes         .
                                   Matthew Oakes, Attorney
 5                                 United States Department of Justice
 6                                 Environment and Natural Resources Division
                                   Law and Policy Section
 7
                                   P.O. Box 7415
 8                                 Washington, D.C. 20044
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 1                                PROOF OF SERVICE
 2
 3         On this 24th day of August 2018, the Statement of Interest of the United
 4   States was served on counsel of record by electronic filing:
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 6
 7         I declare under penalty of perjury that the foregoing is true and correct.
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 9   Executed on the 24th day of August 2018.
10
11                                    /s/ Matthew R. Oakes     .
12                                    Matthew R. Oakes
                                      United States Department of Justice
13                                    Environment and Natural Resources Division
14                                    Law and Policy Section
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